       Case 2:24-cv-00040-SCJ Document 24-1 Filed 05/29/24 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                            GAINESVILLE DIVISION

MARIA NISHIJIMA,                    )
                                    )       Civil Action No.
      Plaintiff,                    )
                                    )       2:24-cv-040-SCJ
WALMART INC., John Doe, Jane        )
Doe, and ABC Corp.                  )
                                    )
      Defendants.                   )

                    ORDER ON APPLICATION FOR LEAVE
                    OF ABSENCE OF MATTHEW J. HURST

      Whereas Matthew J. Hurst, Defendant’s attorney of record, having made

application to the Court for leave of absence and no objections having been

received;

      It is hereby ordered that Matthew J. Hurst be granted leave of absence for

the following periods:

      1) July 11, 2024;

      2) August 12, 2024;

      3) September 18, 2024 – September 19, 2024;

      4) September 23, 2024;

      5) October 17, 2024;

      6) November 11, 2024 – November 15, 2024;

                                        1
Case 2:24-cv-00040-SCJ Document 24-1 Filed 05/29/24 Page 2 of 2




7) November 18, 2024;

8) November 25, 2024 – November 27, 2024;

9) November 29, 2024;

10)   December 5, 2024 – December 6, 2024;

11)   December 9, 2024 – December 10, 2024;

12)   December 18, 2024 – December 20, 2024;

13)   December 23, 2024;

14)   December 26, 2024 – December 27, 2024; and

15)   January 1, 2025 – January 3, 2025.


This _____ day of _______________, 2024.

                                           ________________________
                                           Judge Steven J. Jones
                                           United States District Court
                                           Northern District of Georgia
                                           Gainesville Division




                                 2
